                     Case: 24-10832           Document: 57-2   Page: 1    Date Filed: 04/07/2025




                               United States Court of Appeals
A True Copy
Certified order issued Apr 07, 2025 for the Fifth Circuit                              United States Court of Appeals
                                                                                                Fifth Circuit

                                                    _____________                             FILED
Clerk, U.S. Court of Appeals, Fifth Circuit                                                April 7, 2025
                                                      No. 24-10832                       Lyle W. Cayce
                                                    _____________                             Clerk

                    State of Texas; Daniel A. Bonevac; John Hatfield,

                                                                             Plaintiffs—Appellees,

                                                         versus

                    The United States of America; Linda McMahon, Acting
                    Secretary, U.S. Department of Education; Department of
                    Education; Catherine Lhamon, in her official capacity as Assistant
                    Secretary for Civil Rights, Department of Education; Randolph Wills, in
                    his official capacity as Deputy Assistant Secretary for Enforcement, Department
                    of Education,

                                                               Defendants—Appellants.
                                      ________________________________

                                       Appeal from the United States District Court
                                           for the Northern District of Texas
                                                 USDC No. 2:24-CV-86
                                      ________________________________

                    CLERK’S OFFICE:
                             Under Fed. R. App. P.42(b), the appeal is dismissed as of April 07,
                    2025, pursuant to the joint motion of the parties.
Case: 24-10832   Document: 57-2    Page: 2   Date Filed: 04/07/2025

                          No. 24-10832




                                    LYLE W. CAYCE
                                    Clerk of the United States Court
                                    of Appeals for the Fifth Circuit


                                    By: ___________________
                                    Casey A. Sullivan, Deputy Clerk

           ENTERED AT THE DIRECTION OF THE COURT




                               2
